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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

United States of America                      )
                                              )               Case No. 19-CR-00567
                       Appellee,              )
                                              )
       v.                                     )               Honorable Harry D. Leinenweber
                                              )
                                              )
Robert Sylvester Kelly         ,              )
                                              )
                       Appellant.             )

                     CIRCUIT RULE 3(c) DOCKETING STATEMENT

       NOW COMES Defendant ROBERT S KELLY, a prisoner at Metropolitan Correctional

Center, by and through his attorneys ASHLEY COHEN and JENNIFER BONJEAN of the

BONJEAN LAW GROUP, and pursuant to Circuit Rule 3(c) submits the following docketing

statement:

       1.      The jurisdiction of the United States District Court for the Northern District of

Illinois was founded upon 18 U.S.C. § 3231.

       2.      The jurisdiction of the United States Court of Appeals for the Seventh Circuit is

founded upon 28 U.S.C. § 1291 and 18 U.S.C. § 3642 and is based in the following particulars:

       i.      On September 14, 2022, a jury found Appellant Robert S. Kelly guilty of counts

one, two, three, nine, ten and twelve of the superseding indictment after a plea of not guilty.

Counts one, two and three were offenses in violation of 18 U.S.C. § 2251(a) and counts nine, ten

and twelve were offenses in violation of 18 U.S.C. § 2422(b). The Appellant was found not

guilty on counts four through eight, eleven and thirteen of the superseding indictment.




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       ii.     On February 16, 2023, the District Court denied Appellant’s Motion for a

Judgment of Acquittal pursuant to Fed. R. Crim. P. 29 and Motions for a New Trial pursuant to

Fed. R. Crim. P. 33.

       iii.    On February 23, 2023, Appellant was sentenced to 228 months on counts one,

two and three to run concurrent to all other counts and his thirty-year sentence in USA v. Kelly,

19-cr-286 (E.D.N.Y.); 12 months on counts one, two and three to run concurrent to all other

counts but consecutive to his sentence in USA v. Kelly, 19-cr-286 (E.D.N.Y.); 180 months on

counts nine and twelve to run concurrent to all other counts and his sentence in USA v. Kelly, 19-

cr-286 (E.D.N.Y.) and 120 months on count ten to run concurrent to all other counts and his

sentence in USA v. Kelly, 19-cr-286 (E.D.N.Y.).

       3.      Judgment was entered on March 7, 2023.

       4.      Notice of Appeal was timely filed on March 9, 2023.



                                                      BY:    /s/ ASHLEY COHEN

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